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 13   EDGE SYSTEMS LLC
 14
 15
                     IN THE UNITED STATES DISTRICT COURT
 16
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 17
                                WESTERN DIVISION
 18
 19
      EDGE SYSTEMS LLC, a California       )   Civil Action No. 2:20-cv-09669
 20   limited liability company,           )
                                           )
 21               Plaintiff,               )   COMPLAINT FOR
                                           )   CONTRIBUTORY
 22         v.                             )   TRADEMARK INFRINGEMENT;
                                           )   FALSE DESIGNATION OF
 23   AGELESS SERUMS LLC, a Texas          )   ORIGIN; INDUCED BREACH OF
      limited liability company,           )   CONTRACT; TORTIOUS
 24                                        )   INTERFERENCE WITH
                  Defendant.               )   CONTRACTUAL RELATIONS,
 25                                        )   AND UNFAIR COMPETITION
                                           )
 26                                        )
                                           )   DEMAND FOR JURY TRIAL
 27                                        )
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  1         Plaintiff Edge Systems LLC, (“Edge” or “Plaintiff”) hereby complains of
  2   Defendant Ageless Serums LLC (“Ageless” or “Defendant”) and alleges as
  3   follows:
  4                          I. JURISDICTION AND VENUE
  5         1.     This is an action for trademark infringement, tortious interference
  6   with contractual relations, and unfair competition under federal, state, and
  7   common law.
  8         2.     This Court has original subject matter jurisdiction over the claims
  9   for trademark infringement and federal unfair competition pursuant to 28 U.S.C.
 10   §§ 1331 and 1338 and 15 U.S.C. §§ 1116, 1117, 1121(a) and 1125, as these
 11   claims arise under the laws of the United States. This Court has supplemental
 12   jurisdiction over the claims that arise under state statutory and common law
 13   pursuant to 28 U.S.C. § 1367(a) because the state law claims are so related to
 14   the federal claims that they form part of the same case or controversy and derive
 15   from a common nucleus of operative facts.
 16         3.     This Court has personal jurisdiction over Ageless because Ageless
 17   has a continuous, systematic, and substantial presence within this judicial
 18   district, including by inducing infringement of Edge’s trademark rights in this
 19   judicial district and by inducing Edge’s customers in this judicial district to
 20   breach contracts with Edge. Ageless’s actions in California, and this district,
 21   include but are not limited to selling serum products directly to consumers
 22   and/or retailers in this district and instructing those consumers and/or retailers to
 23   use the serum products in a manner that infringes Edge’s trademark rights.
 24   Ageless’s actions have also interfered with contractual relationships between
 25   Edge and its customers by causing Edge’s customers in this judicial district to
 26   breach their agreements with Edge regarding the use of Edge’s trademarks.
 27   These acts form a substantial part of the events or omissions giving rise to
 28   Edge’s claims.
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  1         4.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§
  2   1391(b), 1391(d), and 1400(b).
  3                                  II. THE PARTIES
  4         5.     Plaintiff Edge is a California corporation having its principal place
  5   of business at 2165 E. Spring Street, Long Beach, California 90806.
  6         6.     Edge is informed and believes, and thereon alleges, that Defendant
  7   Ageless Serums LLC is a Texas limited liability company having its principal
  8   place of business at 6140 Highway 6, Suite 226, Missouri City, Texas 77459.
  9         7.     Edge is informed and believes, and thereon alleges, that Ageless
 10   has committed the acts alleged herein within this judicial district.
 11                          III. GENERAL ALLEGATIONS
 12   A.    The Edge Trademark and Trademark Licenses
 13         8.     Edge is a worldwide leader in the design, development,
 14   manufacture, and sale of high-quality skin resurfacing and rejuvenation systems,
 15   including microdermabrasion and hydradermabrasion systems. These systems
 16   rejuvenate skin by cleansing and exfoliating the skin surface, extracting debris
 17   from pores, and then nourishing the skin’s surface with a therapeutic solution,
 18   called a “serum,” that moisturizes and protects the treated skin surface. Edge’s
 19   flagship system is its revolutionary HydraFacial MD® system, which is the
 20   premier hydradermabrasion system sold in the United States. Edge’s
 21   HydraFacial MD® system is so revolutionary that it is protected by numerous
 22   United States patents.    In addition to the HydraFacial MD® system, Edge
 23   designs, develops, manufactures, and sells other patented hydradermabrasion
 24   systems, including the HydraFacial® Tower™, the HydraFacial® Allegro™,
 25   the HydraFacial® Wave™, the HydraFacial® Elite™, HydraFacial® Nectre™,
 26   and the HydraFacial® Core™ systems. These Edge hydradermabrasion systems
 27   are referred to herein collectively as “the HydraFacial® Systems.”
 28   ///
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  1          9.     Edge also designs, develops, manufactures, and sells high-quality
  2   serums for use in the HydraFacial® Systems. These serums include Activ-4®,
  3   Antiox+®, Antiox-6®, Beta-HD® Clear, and the HydraFacial Dermabuilder®
  4   serums.      These Edge serums are referred to herein collectively as “the
  5   HydraFacial® Serums.”
  6          10.    The combination of technology and therapeutic skin care benefits
  7   that are realized when the HydraFacial® Systems and the HydraFacial® Serums
  8   are used together has led to widespread public attention and acclaim. For
  9   example, Edge’s HydraFacial® Systems have received the “Best Equipment for
 10   the Face” award numerous times over the years from Les Nouvelles Esthétiques
 11   & Spa magazine, which is one of the most prestigious publications in the skin
 12   care and spa industry.
 13          11.    Since     2005,   Edge       has   continuously      used   the       mark
 14   HYDRAFACIAL® in connection with the advertising, promotion, and sale of
 15   its high-quality hydradermabrasion systems. Edge has spent considerable time,
 16   effort, and money developing HYDRAFACIAL® as a trademark and ensuring
 17   that the public associates the HYDRAFACIAL® mark with Edge and Edge’s
 18   high-quality hydradermabrasion systems, serums, and treatments.
 19          12.    On April 9, 2013, Edge registered the HYDRAFACIAL® Mark
 20   with the United States Patent and Trademark Office, on the Principal Register,
 21   and is the owner of U.S. Trademark Registration No. 4,317,059 for the mark
 22   HYDRAFACIAL® (“the HYDRAFACIAL® Mark”). The HYDRAFACIAL®
 23   Mark is registered for and used in connection with medical apparatus and
 24   instruments for peeling and resurfacing tissue, as well as medical spa services,
 25   namely, minimally and non-invasive cosmetic and body fitness therapies. A
 26   true   and    correct    copy   of   the    Certificate   of   Registration   for    the
 27   HYDRAFACIAL® Mark is attached hereto as Exhibit 1.
 28   ///
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  1            13.   The registration for the HYDRAFACIAL® Mark is incontestable.
  2            14.   Edge advertises its hydradermabrasion systems and serums under
  3   the HYDRAFACIAL® Mark throughout the United States at trade shows and
  4   seminars, and through trade publications, social media, search engine
  5   optimization, emails, and webinars.         Edge has spent millions of dollars
  6   advertising and promoting its hydradermabrasion systems and the treatments
  7   performed with those systems under the HYDRAFACIAL® Mark.
  8            15.   In addition to Edge’s own sales, marketing, and advertising, Edge
  9   has received widespread unsolicited media attention featuring Edge, its
 10   HydraFacial® Systems and Serums, and HydraFacial® treatments, thus
 11   reinforcing the public’s association between Edge and the HYDRAFACIAL®
 12   Mark. For example, People Magazine, Allure, The Hollywood Reporter, Tampa
 13   Bay Times, New Beauty, OK! Magazine, Star Magazine, Elle Beauty Book,
 14   Harper’s Bazaar Magazine, Essence, Simply Her, Examiner.com, and In Style
 15   have featured Edge and its HydraFacial® Systems and Serums and
 16   HydraFacial® treatments. Edge and its HydraFacial® Systems and Serums and
 17   HydraFacial® treatments have also been featured on Good Day L.A., The
 18   Doctors, KLBK News, Great Day Houston, and Real Housewives of Beverly
 19   Hills.
 20            16.   Promotional    materials     and     advertisements   for   Edge’s
 21   hydradermabrasion systems and treatments sold under the HYDRAFACIAL®
 22   Mark have been widely distributed throughout the United States, establishing
 23   and reinforcing in consumers’ minds the association between Edge, its
 24   hydradermabrasion systems and treatments, and the HYDRAFACIAL® Mark.
 25   As a result of Edge’s substantial efforts, the HYDRAFACIAL® Mark has
 26   become extremely well known and valuable to Edge as an identifier of the
 27   company,       Edge’s   HydraFacial®      Systems    and   Serums,   and   Edge’s
 28
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  1   HydraFacial® treatments.       The HYDRAFACIAL® Mark has become
  2   synonymous in consumers’ minds with Edge.
  3         17.   Edge sells its HydraFacial® Systems and Serums to customers
  4   across the United States, including dermatologists, plastic surgeons, and health
  5   spas. These customers offer and provide HydraFacial® treatments at thousands
  6   of locations throughout the United States, including in all 50 states.       In
  7   connection with each sale of a HydraFacial® System, and pursuant to Edge’s
  8   trademark licensing program, Edge allows its customers to use and take
  9   advantage of the HYDRAFACIAL® Mark when offering and providing
 10   HydraFacial® treatments, so long as those customers perform the treatments
 11   using Edge’s genuine HydraFacial® Systems and Edge’s genuine HydraFacial®
 12   Serums.
 13         18.   As a result of the widespread use, advertising, promotion, media
 14   exposure, and display of the HYDRAFACIAL® Mark, (a) the public has come
 15   to recognize and identify hydradermabrasion systems and serums and treatments
 16   bearing the HYDRAFACIAL® Mark as emanating from Edge, (b) the public
 17   recognizes that hydradermabrasion systems and serums and treatments bearing
 18   the HYDRAFACIAL® Mark constitute high-quality systems, serums, and
 19   treatments that conform to the exacting specifications created, authorized, and
 20   approved by Edge, and (c) the HYDRAFACIAL® Mark has established strong
 21   secondary meaning and extensive goodwill.
 22         19.   Edge has provided the public with notice of its rights in the
 23   HYDRAFACIAL® Mark by using the federal trademark registration symbol
 24   “®” in connection with the mark.
 25         20.   Edge protects the goodwill associated with the HYDRAFACIAL®
 26   Mark and maintains its reputation for high-quality products associated with
 27   HydraFacial® treatments by, for example, authorizing the use of the
 28   HYDRAFACIAL® Mark solely for treatments that exclusively use genuine
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  1   HydraFacial® Systems in combination with genuine HydraFacial® Serums.
  2   Pursuant to the terms of Edge’s Trademark License Agreement (“the Trademark
  3   License Agreement”), Edge licenses its customer-licensees to advertise, market,
  4   promote, sell, and/or offer to sell hydradermabrasion treatments under the
  5   HYDRAFACIAL® Mark so long as those treatments are performed solely
  6   using genuine HydraFacial® Systems and genuine HydraFacial® Serums. A
  7   sample Trademark License Agreement is attached hereto as Exhibit 2.
  8   B.    Infringement of Edge’s HydraFacial Mark
  9         21.   Ageless is in the business of promoting and selling serums for use
 10   with hydradermabrasion systems manufactured by others, including the Edge
 11   hydradermabrasion systems. In particular, as it relates to this action, Ageless
 12   specifically targets customers using Edge’s HydraFacial® System by
 13   advertising knock-off versions of Edge’s HydraFacial® Serums, including
 14   Edge’s   Activ-4™,    Gly-Sal,   Beta-HD™,     Antiox+™,     Antiox-6™,     and
 15   Dermabuilder™ serums (“the Ageless Serums”), and instructing Edges’
 16   customer-licensees to substitute these knock-off serums in place of Edge’s high-
 17   quality, genuine HydraFacial® Serums.
 18         22.   This is not the first time that Ageless has attempted to trade upon
 19   Edge’s hard-earned reputation in the industry and the goodwill associated with
 20   the HYDRAFACIAL® Mark. For example, in 2017, Edge discovered that
 21   Ageless was improperly using Edge’s HYDRAFACIAL® Mark in various
 22   places on its website, without Edge’s consent and without use of the “®”
 23   symbol, or any other acknowledgement that Edge owns the HYDRAFACIAL®
 24   Mark. Ageless’s website at that time also improperly included photographs that
 25   clearly and prominently displayed other Edge registered trademarks. Edge was
 26   forced to bring suit against Ageless in 2017 to stop Ageless’s improper use of
 27   Edge’s HYDRAFACIAL® Mark.
 28   ///
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  1         23.    Ageless, through at least its managing partner, Rene Chlumecky,
  2   has been aware of Edge’s rights in the HYDRAFACIAL® Mark for nearly a
  3   decade. From February 28, 2011 to March 12, 2012, Mr. Chlumecky was
  4   employed by Edge as an independent Sales Representative.                As a Sales
  5   Representative     for   Edge,   Mr.   Chlumecky     was     familiar    with   the
  6   HYDRAFACIAL® Mark and the hydradermabrasion systems, serums,
  7   treatments, and services offered and sold under that mark.
  8         24.    As a Sales Representative for Edge, Mr. Chlumecky was also
  9   familiar with the Trademark License Agreement and its terms.
 10         25.    The Trademark License Agreements in place during the period
 11   when Mr. Chlumecky was an Edge Sales Representative included the following
 12   terms, in which the term “Licensor’s Skin Solutions” means “Edge’s
 13   HydraFacial® Serums”:
 14                  “[N]or shall any of the Licensed Trademarks be used by the
                      Licensee unless Licensor’s Skin Solutions are used in the
 15
                      operation of the HydraFacial System.” See 2011 Trademark
 16                   License Agreement – Revision B (Ex. 3) at ¶ 1; 2011
 17                   Trademark License Agreement – Revision C (Ex. 4) at ¶ 1.

 18                  “In recognition that the HydraFacial™ System equipment only
                      functions properly and effectively with the use of Licensor’s
 19                   Skin Solutions, Licensee agrees to purchase the Skin Solutions
 20                   used in the HydraFacial™ System(s) from Licensor or its
                      authorized distributor in good standing.” See 2011 Trademark
 21                   License Agreement – Revision B (Ex. 3) at ¶ 2; 2011
 22                   Trademark License Agreement – Revision C (Ex. 4) at ¶ 2.
 23                  “[T]his Agreement . . . will continue in force . . . on condition
 24                   that the Licensee uses the HydraFacial™ System and Skin
                      Solutions . . . .” 2011 Trademark License Agreement –
 25                   Revision C (Ex. 4) at ¶ 5.
 26
            26.    The Trademark License Agreement currently in place includes
 27
      similar clauses:
 28
                                             -7-
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  1                  “Furthermore, none of the Licensed Trademarks shall be used
                      by the Licensee unless Licensee solely and exclusively uses
  2
                      Licensor’s serums and/or consumables in the operation of the
  3                   Purchased Equipment.”         See 2020 Trademark License
  4                   Agreement (Ex. 2) at ¶ 1.1.(a).

  5                  “In recognition that the HydraFacial system and equipment and
                      the Perk system and equipment only function properly and
  6                   effectively with the use of Licensor’s serum solutions and
  7                   consumables, Licensee agrees to purchase the serum solutions
                      and consumables used in the Purchased Equipment solely and
  8                   exclusively from Licensor or its authorized distributor in good
  9                   standing.” See 2020 Trademark License Agreement (Ex. 2) at
                      ¶ 3.1.
 10
 11                  “Any unauthorized use of solutions other than Licensor’s is not
                      allowed . . .and will result in an automatic termination of this
 12                   License Agreement.” Id.
 13
            27.     Ageless is not an authorized provider or distributor of Edge’s
 14
      HydraFacial® Serums.
 15
            28.     Ageless is aware that if one of Edge’s customer-licensees uses an
 16
      Ageless Serum instead of an authentic HydraFacial® Serum when offering or
 17
      providing a treatment using an Edge HydraFacial® System, then the license to
 18
      use the HYDRAFACIAL® Mark is terminated and the customer-licensee can
 19
      no longer offer and sell its treatments under the HYDRAFACIAL® Mark.
 20
            29.     Ageless is aware that HydraFacial® System users are not licensed
 21
      to use the HYDRAFACIAL® Mark if they are using Ageless Serums in their
 22
      treatments.
 23
            30.     Ageless is aware that unlicensed use of the HYDRAFACIAL®
 24
      Mark constitutes infringement of Edge’s trademark rights.
 25
            31.     Ageless instructs its customers to use Ageless Serums in
 26
      HydraFacial® Systems. For example, the Ageless website provides conversion
 27
      tables entitled “Hydrafacial Users Conversion Product Steps” and “QUICK
 28
                                            -8-
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    1   Conversion for Hydrafacial    tm   Users,” shown below, which identify Ageless
    2   Serums that should be substituted for HydraFacial® Serums. See Figure 1,
    3   https://www.agelessserums.com/ageless-facial-protocols.html     (last     visited
    4   October      20,      2020)        (Ex.      5);   see   also    Figure        2,
    5   https://www.agelessserums.com/compare-hydrafacial-to-ageless-serums.html
    6   (last visited October 20, 2020) (Ex. 6).
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                                            Fig. 1
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  25                                        Fig. 2
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    1         32.       Edge is informed and believes, and based thereupon alleges, that
    2   Ageless actively encourages its customers to use the HYDRAFACIAL® Mark
    3   in connection with treatments using Ageless Serums in HydraFacial® Systems.
    4         33.        The Ageless website includes a “Most Commonly Asked
    5   Questions” page. One of the items on that page states that a customer “received
    6   a letter from Edge stating that my spa could not use the Hydrafacial name in our
    7   advertising.”     Ageless responded by providing guidance, purporting to be
    8   grounded in trademark law, instructing and intending to mislead its customers
    9   to use the HYDRAFACIAL® Mark in an infringing manner when providing
  10    treatments with the HydraFacial® System using Ageless Serums. See Figure 3,
  11    https://www.agelessserums.com/most-commonly-asked-questions.html           (last
  12    visited October 20, 2020) (Ex. 7).
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  28                                      Fig. 3

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    1         34.       When Edge’s customers use the HYDRAFACIAL® Mark to
    2   advertise, market, promote, sell, and/or offer to sell treatments using Ageless
    3   Serums, consumers are likely to be confused and deceived into mistakenly
    4   believing that they are receiving authentic HydraFacial® treatments with
    5   authentic Edge HydraFacial® Serums, when they are not.
    6         35.       Due to the Ageless customers’ continued and improper use of
    7   Edge’s HydraFacial Mark when providing treatments with Ageless Serums as
    8   set forth above, a person seeking a HydraFacial® treatment is likely to be
    9   deceived and misled into believing that the treatment being provided is a
  10    genuine HydraFacial® treatment using genuine HydraFacial® Serums, when
  11    they are not.
  12          36.       Edge is informed and believes, and based thereupon alleges, that
  13    Ageless intended for the Ageless customers to pass off their hydradermabrasion
  14    treatments using Ageless Serums as genuine HydraFacial® treatments using
  15    Edge’s high-quality HydraFacial® Serums to misappropriate the immense
  16    goodwill that Edge has spent enormous time, effort, and expense to cultivate in
  17    the marketplace. Ageless’s intent is evident from its actions to encourage and
  18    induce Ageless customers to continue using the HYDRAFACIAL® Mark and
  19    falsely advertise their treatments as genuine HydraFacial® treatments, despite
  20    knowledge that the customers are using Ageless Serums instead of
  21    HydraFacial® Serums.
  22          37.       It is vital to Edge’s business to protect its customers and consumers
  23    and the integrity of its brand by ensuring that the public is not deliberately
  24    misled or mistakenly confused as to the source of goods or services provided
  25    under the HYDRAFACIAL® Mark. If consumers purchase hydradermabrasion
  26    services under the HYDRAFACIAL® Mark that use Ageless’s relatively lower-
  27    quality products, it will tarnish the market for authentic HydraFacial® services
  28    using authentic HydraFacial® Serums.
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    1         38.      Ageless    induces      Edge’s    customers         to    infringe     the
    2   HYDRAFACIAL® Mark when offering services with Ageless Serums. The
    3   infringing use of the HYDRAFACIAL® Mark confuses the relevant public and
    4   severely damages Edge’s hard-earned reputation, goodwill, and its market-
    5   leading brand.
    6         39.      Ageless’s acts complained of herein have caused Edge to suffer
    7   substantial loss and irreparable injury. Edge will continue to suffer substantial
    8   loss and irreparable injury unless and until Ageless is enjoined from its
    9   wrongful infringement of Edge’s HydraFacial Mark.
  10          40.      Ageless’s acts complained of herein have been willful and
  11    deliberate.
  12                                        IV. COUNT I
  13                  CONTRIBUTORY TRADEMARK INFRINGEMENT
  14          41.      Edge repeats and re-alleges the allegations of paragraphs 1-40 of
  15    this Complaint as if set forth fully herein.
  16          42.      The    Ageless       customers’    unauthorized          use   of      the
  17    HYDRAFACIAL® Mark as alleged herein has caused, and will likely continue
  18    to cause confusion, mistake, and/or deception in the relevant consumer market.
  19          43.      The    Ageless       customers’    unauthorized          use   of      the
  20    HYDRAFACIAL® Mark as alleged herein constitutes infringement of a
  21    federally registered trademark in violation of 15 U.S.C. § 1114.
  22          44.      Ageless   has    intentionally    induced     its    customers       using
  23    HydraFacial® Systems to infringe the HYDRAFACIAL® Mark by inducing
  24    and causing them to use the HYDRAFACIAL® Mark in connection with
  25    hydradermabrasion treatments using Ageless Serums instead of HydraFacial®
  26    Serums.
  27          45.      Ageless was and continues to be aware that its customers using
  28    HydraFacial® Systems are not authorized to hold out their treatments as
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    1   HYDRAFACIAL® treatments when such treatments are performed using non-
    2   HydraFacial® Serums, including the Ageless Serums.
    3         46.    Ageless intends to induce and encourage, and continues to intend to
    4   induce and encourage, its customers to advertise, market, promote, sell, and/or
    5   offer to sell treatments under the HYDRAFACIAL® Mark when such
    6   treatments are provided with Ageless Serums, in direct contravention of Edge’s
    7   trademark rights.
    8         47.    Ageless was, and continues to be, aware that by following the
    9   instructions and guidance on the Ageless website, the Ageless customers are
  10    deceptively advertising, marketing, promoting, selling, and/or offering to sell
  11    treatments using Ageless Serums under the HYDRAFACIAL® Mark.
  12          48.    Ageless instructs and encourages its customers to use the
  13    HYDRAFACIAL® Mark in connection with treatments using HydraFacial®
  14    Systems and Ageless Serums.
  15          49.    Edge is informed and believes, and thereon alleges, that Ageless
  16    continues to supply Ageless Serums to Ageless customers it knows to be
  17    infringing Edge’s HYDRAFACIAL® Mark.
  18          50.    Ageless has acted in bad faith and is willfully encouraging,
  19    inducing, and contributing to the infringement of Edge’s HYDRAFACIAL®
  20    Mark by Ageless customers.
  21          51.    Ageless’s activities constitute willful and intentional indirect
  22    infringement of Edge’s trademark rights in disregard of Edge’s rights in the
  23    HYDRAFACIAL® Mark and were done despite Ageless’s knowledge that the
  24    use of the HYDRAFACIAL®            Mark in connection with treatments using
  25    Ageless Serums was and is in direct contravention of Edge’s rights.
  26          52.    Edge is informed and believes, and thereon alleges, that Ageless
  27    has derived and received, and will continue to derive and receive, gains, profits,
  28    and advantages by inducing and contributing to Ageless customers’
                                              - 13 -
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    1   infringement of the HYDRAFACIAL® Mark in an amount that is not presently
    2   known to Edge. By reason of Ageless’s inducement of and contribution to the
    3   unauthorized and infringing use of the HYDRAFACIAL® Mark by the Ageless
    4   customers, Edge has been damaged and is entitled to monetary relief in an
    5   amount to be determined at trial.
    6         53.    Due to Ageless’s and its customers’ infringing acts, Edge has
    7   suffered and continues to suffer great and irreparable injury, for which Edge has
    8   no adequate remedy at law. Edge is entitled to injunctive relief pursuant to 15
    9   U.S.C. §§ 1116(a) that requires Ageless to stop inducing and/or contributing to
  10    Ageless customers’ infringement of the HYDRAFACIAL® Mark.
  11                                        V. COUNT II
  12     FEDERAL UNFAIR COMPETITION AND CONTRIBUTORY FALSE
  13                             DESIGNATION OF ORIGIN
  14          54.    Edge repeats and re-alleges the allegations of paragraphs 1-53 of
  15    this Complaint as if set forth fully herein.
  16          55.    Through the actions complained of herein, Ageless is unfairly
  17    competing with Edge in violation of 15 U.S.C. § 1125(a).
  18          56.    Through the actions complained of herein, Ageless induces and
  19    contributes to its customers’ infringing use of the HYDRAFACIAL® Mark
  20    without Edge’s consent, which constitutes a false designation of origin, false or
  21    misleading description of fact, or false or misleading representation of fact, in
  22    violation of 15 U.S.C. § 1125(a).
  23          57.    Ageless’s inducement of its customers to engage in acts of unfair
  24    competition and false designation of origin has been willful and without regard
  25    to Edge’s rights.
  26          58.    Edge has been damaged by Ageless’s conduct in an amount to be
  27    determined at trial.
  28    ///
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    1         59.    Edge is entitled to its reasonable attorneys’ fees for the necessity of
    2   bringing this action.
    3         60.    Due to Ageless’s actions as alleged herein, Edge has suffered and
    4   continues to suffer great and irreparable injury, for which Edge has no adequate
    5   remedy at law.
    6         61.    Ageless will continue its unlawful actions as alleged herein unless
    7   and until enjoined by this Court.
    8                                    VI. COUNT III
    9                      INDUCING BREACH OF CONTRACT
  10          62.    Edge repeats and re-alleges the allegations of paragraphs 1-61 of
  11    this Complaint as if set forth fully herein.
  12          63.    Edge had valid and enforceable Trademark License Agreements
  13    with its customer-licensees, whereby Edge licensed its customer-licensees to use
  14    the HYDRAFACIAL® Mark in connection with hydradermabrasion services
  15    and   treatments    performed     using     Edge’s   HydraFacial®   Systems     and
  16    HydraFacial® Serums.
  17          64.    Edge continues to have valid and enforceable Trademark License
  18    Agreements with its customer-licensees, whereby Edge licenses its customers to
  19    use the HYDRAFACIAL® Mark in connection with hydradermabrasion
  20    services and treatments performed using Edge’s HydraFacial® Systems and
  21    HydraFacial® Serums.
  22          65.    Ageless was and continues to be aware of the contractual
  23    relationships between Edge and its customer-licensees, including the Trademark
  24    License Agreements, at least because Ageless founder Rene Chlumecky, as a
  25    former Edge employee, gained knowledge of Edge’s Trademark License
  26    Agreements during his employ.
  27          66.    Edge is informed and believes, and thereon alleges, that Ageless
  28    intended and continues to intend for Edge’s customer-licensees to breach their
                                                  - 15 -
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    1   respective Trademark License Agreements with Edge. For example, Ageless
    2   has and continues to intentionally induce Edge’s licensees to breach their
    3   respective Trademark License Agreements by encouraging Edge’s licensees to
    4   falsely designate their treatments as HYDRAFACIAL® treatments, despite
    5   substituting Ageless Serums for HydraFacial® Serums, in violation of the
    6   Trademark License Agreement.
    7          67.    As a result of Ageless’s inducement, Edge’s customer-licensees
    8   have advertised, marketed, promoted, sold, and/or offered for sale
    9   hydradermabrasion treatments under the HYDRAFACIAL® Mark using
  10    Ageless Serums in their HydraFacial® Systems, despite explicit contractual
  11    provisions in the Trademark License Agreement to the contrary.
  12           68.    Unless and until Ageless is enjoined by this Court, Ageless will
  13    continue to induce Edge’s customer-licensees who have valid Trademark
  14    License Agreements with Edge to breach their respective agreements with Edge
  15    by substituting Ageless Serums for HydraFacial® Serums for use with their
  16    HydraFacial® Systems and continuing to advertise, market, promote, sell,
  17    and/or offer for sale their hydradermabrasion treatments under the
  18    HYDRAFACIAL® Mark, despite explicit contractual provisions in the
  19    Trademark License Agreement to the contrary.
  20           69.    As a foreseeable, direct and proximate result of the Edge licensee’s
  21    breach of contract, Edge has and will continue to suffer damage and irreparable
  22    injury to its rights.
  23           70.    Ageless’s willful acts of inducing breach of contract constitute
  24    fraud, oppression, and malice. Accordingly, Edge is entitled to exemplary
  25    damages pursuant to Cal. Civ. Code § 3294(a).
  26    ///
  27
  28
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    1                                    VII. COUNT IV
    2     TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS
    3         71.     Edge repeats and re-alleges the allegations of paragraphs 1-70 of
    4   this Complaint as if set forth fully herein.
    5         72.     Edge has valid and enforceable Trademark License Agreements
    6   with its customers, whereby Edge licenses its customers to use the
    7   HYDRAFACIAL® Mark in connection with hydradermabrasion services and
    8   treatments performed using Edge’s HydraFacial® Systems and HydraFacial®
    9   Serums.
  10          73.     Edge has a protectable interest in its contractual relationships with
  11    its licensees and, specifically, has a protectable interest in its Trademark License
  12    Agreements.
  13          74.     Edge’s customer-licensees who have offered, sold, and provided
  14    hydradermabrasion treatments under the HYDRAFACIAL® Mark using
  15    Ageless Serums in their HydraFacial® Systems have breached the Trademark
  16    License Agreements with Edge. Edge’s customer-licensees were induced by
  17    Ageless to breach the Trademark License Agreements.
  18          75.     Ageless was aware of the contractual relationships between Edge
  19    and its licensees, including the Trademark License Agreements, at least because
  20    Ageless founder Rene Chlumecky, as a former Edge employee, had knowledge
  21    of Edge’s Trademark License Agreements during his employ.
  22          76.     Edge is informed and believes, and thereon alleges, that Ageless
  23    intended for Edge’s licensees to breach their respective Trademark License
  24    Agreements with Edge. For example, Ageless has intentionally induced Edge’s
  25    licensees to breach their respective Trademark License Agreements by
  26    encouraging Edge’s licensees to falsely designate their treatments as
  27    HYDRAFACIAL® treatments, despite substituting Ageless Serums for
  28    HydraFacial® Serums in violation of the Trademark License Agreement.
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    1         77.    As a foreseeable, direct and proximate result of the Edge licensee’s
    2   breach of contract, Edge has suffered damage and irreparable injury to its rights.
    3   Edge will continue to suffer such damage and injury unless and until Ageless is
    4   enjoined by this Court.
    5         78.    Ageless’s willful acts of tortious interference constitute fraud,
    6   oppression, and malice. Accordingly, Edge is entitled to exemplary damages
    7   pursuant to Cal. Civ. Code § 3294(a).
    8                                    VIII. COUNT V
    9         UNFAIR COMPETITION UNDER CALIFORNIA BUSINESS &
  10                        PROFESSIONS CODE §§ 17200 et seq.
  11          79.    Edge repeats and re-alleges the allegations of paragraphs 1-78 of
  12    this Complaint as if set forth fully herein.
  13          80.    Ageless’s acts as alleged herein, including trademark infringement
  14    and tortious interference with contractual relations, constitute unlawful, unfair,
  15    and fraudulent business practices in violation of California Business &
  16    Professions Code §§ 17200 et seq.
  17          81.    Edge is informed and believes, and thereon alleges, that Ageless
  18    has derived and received, and will continue to derive and receive, gains, profits,
  19    and advantages from Ageless’s unfair competition in an amount that is not
  20    presently known to Edge.
  21          82.    By its actions, Ageless has injured and violated the rights of Edge
  22    and has irreparably injured Edge, and such irreparable injury will continue
  23    unless Ageless is enjoined by this Court.
  24                                     IX. COUNT VI
  25            CALIFORNIA COMMON LAW UNFAIR COMPETITION
  26          83.    Edge repeats and re-alleges the allegations of paragraphs 1-82 of
  27    this Complaint as if set forth fully herein.
  28    ///
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    1         84.     Ageless’s acts complained of herein constitute trademark
    2   infringement and unfair competition under the common law of the State of
    3   California.
    4         85.     By virtue of the acts complained of herein, Ageless has willfully
    5   and intentionally caused a likelihood of confusion among the purchasing public
    6   in this judicial district and elsewhere, thereby unfairly competing with Edge in
    7   violation of the common law of the State of California.
    8         86.     Ageless’s aforementioned acts have damaged Edge in an amount to
    9   be determined at trial.
  10          87.     Ageless has irreparably injured Edge. Such irreparable injury will
  11    continue unless Ageless is enjoined by this Court from further violating Edge’s
  12    rights, for which Edge has no adequate remedy at law.
  13          88.     Ageless’s willful acts of unfair competition under California
  14    common law constitute fraud, oppression, and malice. Accordingly, Edge is
  15    entitled to exemplary damages pursuant to Cal. Civ. Code § 3294(a).
  16                                    PRAYER FOR RELIEF
  17          WHEREFORE, Plaintiff prays for judgment in its favor and against
  18    Defendant for the following relief:
  19          A.      An Order adjudging Ageless to have contributorily infringed the
  20    HydraFacial Mark;
  21          B.      An Order adjudging Ageless to have competed unfairly with Edge
  22    in violation of Section 43(a) of the Lanham Act (15 U.S.C. § 1125(a));
  23          C.      An Order adjudging Ageless to have induced breach of contract;
  24          D.      An Order adjudging Ageless to have tortiously interfered with
  25    Edge’s contractual relations.
  26          E.      A preliminary and permanent injunction enjoining Ageless, its
  27    officers, directors, agents, servants, employees, and attorneys, and those persons
  28    in active concert or participation with Ageless, from inducing breach of contract
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    1   and from tortiously interfering with Edge’s contractual relations, including but
    2   not limited to marketing and selling Ageless Serums for use with HydraFacial®
    3   Systems, without providing HydraFacial® System users with actual written
    4   notice that: they are prohibited from (1) using the HYDRAFACIAL® Mark in
    5   any manner in connection with hydradermabrasion treatments that use Ageless
    6   Serums with a HydraFacial® System; (2) using the HYDRAFACIAL® Mark in
    7   any manner in connection with hydradermabrasion treatments that use Ageless
    8   Serums with a HydraFacial® System constitutes infringement of the
    9   HYDRAFACIAL® Mark; (3) using the HYDRAFACIAL® Mark in any
  10    manner in connection with hydradermabrasion treatments that use Ageless
  11    Serums with a HydraFacial® System is a breach of, and will result in
  12    termination of, their Trademark License Agreement with Edge to use the
  13    HYDRAFACIAL® Mark, and (4) such trademark infringement and breach of
  14    the Trademark License Agreement subjects them to potential liability to Edge.
  15          F.      A preliminary and permanent injunction enjoining Ageless, its
  16    officers, directors, agents, servants, employees, and attorneys, and those persons
  17    in active concert or participation with Ageless, from inducing, instructing, or
  18    encouraging its customers to falsely designate the origin of their
  19    hydradermabrasion treatments, misrepresenting by any means whatsoever,
  20    directly or indirectly, the source or sponsorship of their hydradermabrasion
  21    treatments, and causing a likelihood of confusion or injuries to Edge’s business
  22    reputation.
  23          G.      An Order adjudging Ageless to have competed unfairly with Edge
  24    in violation of California Business & Professions § 17200 et seq.;
  25          H.      An Order adjudging Ageless to have unfairly competed with Edge
  26    under the common law of the State of California;
  27          I.      A preliminary and permanent injunction enjoining Ageless, its
  28    officers, directors, agents, servants, employees, and attorneys, and those persons
                                              - 20 -
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    1   in active concert or participation with Ageless, from unfairly competing with
    2   Edge in any manner.
    3          J.     An accounting to determine for any and all profits derived by
    4   Ageless and all damages sustained by Edge by virtue of Ageless’s acts
    5   complained of herein.
    6          K.     An Order adjudging that Ageless’s actions complained of herein be
    7   deemed willful, and further, that Plaintiff be entitled to enhanced damages
    8   pursuant to 15 U.S.C. § 1117;
    9          L.     An Order adjudging this to be an exceptional case under 15 U.S.C.
  10    § 1117 and ordering Ageless to pay to Edge its reasonable attorney fees incurred
  11    in this action;
  12           M.     An Order that Ageless acted with malice, oppression, or fraud and
  13    awarding Edge punitive damages under California law;
  14           N.     An Order awarding pre-judgment and post-judgement interest and
  15    costs as fixed by the Court; and
  16           O.     Such other and further relief as this Court may deem just and
  17    proper.
  18                                    Respectfully submitted,
  19                                    KNOBBE, MARTENS, OLSON & BEAR, LLP
  20
  21    Dated: October 21, 2020         By: /s/ Ali S. Razai
                                           Craig S. Summers
  22                                       Ali S. Razai
                                           Karen M. Cassidy
  23                                       David G. Kim
  24                                    Attorneys for Plaintiff
                                        EDGE SYSTEMS LLC
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    1                                DEMAND FOR JURY TRIAL
    2              Plaintiff hereby demands a trial by jury on all issues so triable.
    3
    4                                       Respectfully submitted,
    5                                       KNOBBE, MARTENS, OLSON & BEAR, LLP
    6
    7   Dated: October 21, 2020             By: /s/ Ali S. Razai
                                               Craig S. Summers
    8                                          Ali S. Razai
                                               Karen M. Cassidy
    9                                          David G. Kim
  10                                        Attorneys for Plaintiff
                                            EDGE SYSTEMS LLC
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